                                         UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF NORTH CAROLINA
                                             STATESVILLE DIVISION
                                        DOCKET NO. 5:16-cv-00225-RLV-DCK

               FRANK GULYAS,                                              )
                                                                          )
                                       Plaintiff,                         )
                                                                          )
               Vs.                                                        )                  ORDER
                                                                          )
               APPALACHIAN STATE UNIVERSITY,                              )
               UNIVERSITY OF NORTH CAROLINA, CINDY                        )
               A. WALLACE, JUDITH HAAS, DAVID J.                          )
               ELROD, AND DARRELL P. KRUGER,                              )
                                                                          )
                                     Defendants.                          )


                      THIS MATTER is before the court on plaintiff’s Motion for Reconsideration (#33).

              Having considered plaintiff’s Motion, defendant’s Response, and plaintiff’s Reply, and reviewed

              the pleadings, and finding that no new evidence has been presented, that there has not been a

              change in controlling law, and that there is no clear error or manifest injustice to correct, the

              court enters the following Order.

                                                            ORDER

                      IT IS, THEREFORE, ORDERED that Plaintiff's Motion for Reconsideration of

              Denial of Summary Judgment (#33) is DENIED.


Signed: September 26, 2017




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